Case 2:98-cr-00749-CAS Document 983 Filed 04/26/21 Page 1of1 Page ID #:2519

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

 

 

 

CRIMINAL MINUTES —- GENERAL ‘O’
Case No. 2:98-cr-00749-CAS - 1 Date April 26, 2021
Present: The Honorable CHRISTINA A. SNYDER
Interpreter N/A
Catherine Jeang Laura Elias Jason Pang
Deputy Clerk Court Reporter/Recorder, Assistant U.S. Attorney
Tape No.
U.S.A. v. Defendant(s): Present Cust. Bond Attorneys for Present App. Ret.
Defendants:
RICHARD WAYNE 4 ADAM OLIN, DFPD X xX
PARKER (CITATION) JOHN O’NEIL, DFPD Xx xX
Proceedings: TELEPHONE HEARING RE: MOTION FOR ORDER MODIFYING THE

TERMS OF SUPERVISED RELEASE TO SET PAYMENT SCHEDULE
(Dkt. [977], filed March 26, 2021)

Hearing held by telephone and counsel are present. U.S. Probation Officer is also present.
The Court confers with counsel and counsel argue.

The Court orders that the conditions of defendant’s supervised release shall be modified as
follows. The payment schedule for defendant’s criminal fine shall be set at $25 per month until
March 2022, at which time the Probation Office shall review defendant’s financial situation and,
if appropriate, make a recommendation that defendant’s payment schedule be increased or
otherwise modified.

IT IS SO ORDERED.

00 : 06

 

Initials of Deputy Clerk CMJ

 

Ce: U.S. Probation and Pretrial Services

 

CR-11 (10/16) CRIMINAL MINUTES - GENERAL Page 1 of 1
